
In re Petro-Chem Operating Co., Inc.; Mitchell, Lane; Hock, Larry F.; Hock, Bruce; Hock, Ralph; Anderson, Gertrude Feazel; Anderson, Henry Feazel; Anderson, William Garnett; Wall, Lallage Feazel; Hugh-Rawls Corp.; Hughes, Dudley; Rawls, James; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Caddo, 1st Judicial District, Div. “I”, No. 383,422; to the Court of Appeal, Second Circuit, No. 28767-CW.
Denied.
MARCUS and JOHNSON, JJ., would grant the writ.
VICTORY, J., not on panel.
